 Case 1:18-cv-01429-PLM-RSK ECF No. 43 filed 03/06/19 PageID.314 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN


                                        MINUTES

CASE CAPTION: Gun Owners of America, Inc., et al v. Whitaker, et al


Case Number: 1:18-cv-1429
Date: March 6, 2019
Time: 9:09 a.m. - 10:36 a.m.
Place: Kalamazoo
Judge: Paul L. Maloney


APPEARANCES

       Plaintiffs: Robert Jeffrey Olson and Kerry Lee Morgan

       Defendants: Eric J. Soskin and Matthew J. Glover

PROCEEDINGS

Nature of Hearing: Hearing on Plaintiff's motion for preliminary injunction (Dkt. #9); motion taken
under advisement, opinion and order to issue




Court Reporter: Kathleen Thomas                      Case Manager: Amy Redmond
